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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


DONALD J. TRUMP,

              Plaintiff,

      v.                                           Civil Action No. 1:19-cv-02173 (CJN)

COMMITTEE ON WAYS AND MEANS,
UNITED STATES HOUSE OF
REPRESENTATIVES, et al.,

              Defendants.


                                           ORDER

       For the reasons stated in the accompanying Memorandum Opinion, it is

       ORDERED that the New York Defendants’ Motion to Dismiss the Amended Complaint

for Lack of Personal Jurisdiction and Improper Venue, Dkt. 36, is GRANTED. It is further

       ORDERED that, on or before November 13, 2019, Mr. Trump and the Congressional

Defendants shall meet, confer, and file a Joint Status Report outlining how they would propose

to proceed on the Emergency Application for Relief Under the All Writs Act, Dkt. 6, which

remains pending before the Court.



DATE: November 11, 2019
                                                           CARL J. NICHOLS
                                                           United States District Judge




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